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                           EXHIBIT 29A
    Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 2 of 51 PageID #:3535

                      Registration #:   vA0002283150
                   Service Request #:   l-1w44665591
                                                                                       SH
                                                                                       r:-I*l




Interfocus Inc
Can Wang
650 Castro Street Ste. l2O-458
Mountain View, CA 94041 United States
          Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 3 of 51 PageID #:3536
Certificate of Registration                                      .{i
                                                                 r)


                                                                                                                                                        #IEJI
        .STA                This Certificate issued under the seal of the Copyright
                            Office in accordance with title ry,[Jnited States Code,
                                                                                                                                                        ffi
                    ?       attests that registration has been made for the work
al
                    lo      identified below. The information on this certificate has
ts                                                                                                       Registration Number
                    :       been made a part of the Copyright Office records.
                                                                                                         Y A 2-283-1s0
        'r870
                         ,rdl,t^M
                            United States Register of Copyrights and Director
                                                                                                         Effective Date of Registration:
                                                                                                         November l7,2O2l
                                                                                                         Registration Decision Date:
                                                                                                         January 20,2022




     Copyright Registration for a Group of Published Photographs
                                                                                                             ffi                                     K,S
                                                                                                                                                     hxl+
     Registration issued pursuant to 37 C.F.R. S 202.4(i)
                For Photographs Published: May 19, 2O2l to October 26,2021

                    Title

                          Title of Group:         | - I W 4 4665 59    I   2O2lP   ATP AT_Published_7 50
         Number of Photographs in Group:          750

                o   Individual Photographs:       17312s34      (t),
                                                  173t2s34 (2),
                                                  17312s34 (3),
                                                  17312534 (4),
                                                  17312534 (5),
                                   Published:     May 2O2l

                o   Individual Photographs:       t732ro7t (t),                                                                                         e
                                                  t732t0tt (tt),                                                                                        id
                                                  t732to7t (12),
                                                  17321071 (16),
                                                  t732t071 (2),
                                                  t132ro7t (6),
                                                  17321071 (7),
                                                  t7321293(r),
                                                  17321293,
                                                  11322043,
                                   Published:     lune2O2l

                o   Individual Photographs:       17324375,
                                                  17324908 (2),
                                                  r'1324908 (s),
                                                  17324908 (6),
                                                  17329773,
                                   Published:     \tly   2021

                o   IndividualPhotographs:        t7327036      (t),
                                                  17327036 (tt),
                                                  17327036 (2),
                                                  n327036 (6),
                                                  17327036 (7),
                                                  17327687 (r),
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                                                  17327687 (2),

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                                  t7327828 (10),
                                  17327828 (tt),
                                  17327828 (4),
                                           (8),
                                  1732',7828
                                  t7327828 (9),
                                  17329772,
                                  17329926 (r),
                                  17329926 (12),
                                  t7329926 (t3),
                                  17329926 (2),
                                  17329926 (3),
                                  17329926 (7),
                                  t7329926 (8),
                                  17329931 (1),
                                  17329931 (2),
                                  1732993r (3),
                                  1'.7329931(4),
                                  1732993t (7),
                                  r732993t (8),
                                  17349299     (4),
                                  17349299     (s),
                                  173s00s0     (1),
                                  173s00s0     (2),
                                  173s00s0     (6),
                                  173s0833     (1),
                                  173s0833 (11),
                                  t7350833 (2),
                                  173s0833 (6),
                                  17350833 (7),
                                  173s1s19 (1),
                                  t73s1519 (5),
                                  17351863,
                                  173s3766 (1),
                                  t73s3766 (10),
                                  173s3766 (s),
                                  173s3766 (6),
                                  173s3766 (7),
                                  t73s40s2     (3),
                                  t73s40s2     (6),
                                  t73s4os2     (7),
                                  t73s4os2  (8),
                                  173s40s2 (9),
                                  17362237,
                                  17363464 (2),
                                  17363464 (4),
                    Published:    August 2021

    o   Individual Photographs:   171 81556    (10),
                                  17181ss6     (4),
                                  17181ss6     (s),
                                  17181ss6     (7),
                                  17325471     (t),
                                  1732s471 (s),
                                  1732s47t (6),
                                  17325471 (7),
                                  1732s47r (8),
                                  173s0349 (10),
                                  173s0349 (12),



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                                                                                              HH
                           773s0349 (s),
                           173so349 (6),
                           173s034e (9),
                           17350349 (t),
                           r13s3332   (t),
                           173s3332 (5),
                           173s3332 (6),
                           77353332 (8),
                           173s3663 (t),
                           t73s3663 (5),
                           17353663 (6),
                           r73s4127   (t),
                           n3s4127 (2),
                           173s4127 (3),
                           t7354127 (4),
                           173s4127 (s),
                           173s4r27(6),
                           17355046 (t),
                           173ss046 (4),
                           17355046 (5),
                           t73sst44 (4),
                           173ss144 (s),
                           t73ss34s (t),
                           t73ss34s (2),
                           173ss444   (t2),
                           173ss444   (2),
                           173ss444   (6),
                           173ss444   (8),
                           173ss444   (9),
                           173ss576   (t2),
                           t73sss76 (2),
                           t73sss76 (6),
                           173sss76 (7),
                           r73s5516 (8),
                           173ss763 (3),
                           173ss763 (4),
                           17355199 (t),
                           tt3sst99 (to),
                           173ss799   (tr),
                           173ss799   (14),
                           173s5799   (2),
                           173ss799   (3),
                           173ss799   (6),
                           173s6782   (tt),
                           173s6182 (2),
                           17356782 (3),
                           t7356782 (6),
                           t73s6782 (8),
                           r73s6783 (t),
                           17356783 (10),
                           17356783 (tt),
                           173s6783 (8),
                           173s6783 (9),
                           t7356785 (2),
                           173s678s (3),
                           173s678s (4),
                           173s678s (s),
                           r73s678s (6),


                                                                           Page 3   of   15
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                           173s7739 (4),
                           r73s7739 (5),
                           17358663 (2),
                           17358663   (6),
                           173s8663   (8),
                           173s8663   (9),
                           17358821   (1),
                           17358821   (11),
                           17358821 (12),
                           173s8821 (3),
                           173s882r (7),
                           173s8821 (8),
                           17358842 (2),
                           173s8842 (s),
                           17358842 (6),
                           17358842 (7),
                           173s8919 (t),
                           173s8919 (2),
                           173s8979 (6),
                           17359137 (r),
                           17359137 (5),
                           173s962t (2),
                           17359621 (3),
                           1735962t (4),
                           173s962t (s),
                           173s9621   (6),
                           17359621   (7),
                           173s9867   (t),
                           17360003   (1),
                           17360003   (2),
                           17360003 (3),
                           1736W74 (4),
                           17360074 (s),
                           t1360322 (t),
                           t'1360322 (2),
                           17360322 (8),
                           t7360323 (10),
                           t7360323 (t2),
                           t7360323 (2),
                           17360323 (3),
                           17360323 (6),
                           11360323 (e),
                           17360s27 (2),
                           17360s27 (6),
                           t7360s27 (7),
                           17360s27 (8),
                           17360648 (1),
                           17360648 (2),
                           t73612N (t),
                           17361200 (to),
                           17361200 (tt),
                           t736t2OO (12),
                           t7361200 (13),
                           17361200 (14),
                           17361200 (ts),
                           t736t2OO (16),
                           t736t2OO (17),
                           t736t2w (18),


                                                                           Page 4   of   15
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                                                                                              $tH
                                                                                              [rH
                                  r736t2w (19),
                                  17361200 (2),
                                  17361200 (20),
                     Published: September2021

    o   Individual Photographs:   17361200   (21),
                                  t136t2OO   (22),
                                  17361200   (23),
                                  t736t2OO   (24),
                                  t7361200 (2s),
                                  n361200 (26),
                                  t7361200 (27),
                                  17361200 (28),
                                  17361200 (29),
                                  1736t2O0 (3),
                                  1736t200 (30),
                                  t736t2OO (31),
                                  t736t200 (32),
                                  t136t2OO (4),
                                  t736r2OO (s),
                                  t7361200 (6),
                                  17361200 (1),
                                  t736t200 (8),
                                  n361200 (9),
                                  17361322 (2),
                                  t7361322 (3),
                                  17361322 (4),
                                  17361322 (s),
                                  17361322 (6),
                                  1736144s (t),
                                  17361445 (5),
                                  17361s16 (t),
                                  173615t6 (2),
                                  1736rs16 (s),
                                  17361s16 (6),
                                  17361725 (t),
                                  17361725 (5),
                                  t7361126   (t),
                                  t7361726   (tt),
                                  t736t126 (2),
                                  1736t726 (6),
                                  1736t726 (7),
                                  t7361949 (11),
                                  17361949 (2),
                                  t736t94e (s),
                                  17361949 (6),
                                  1736197t (1),
                                  1736t911 (7),
                                  r736197t (8),
                                  t736r971 (9),
                                  17362135 (tt),
                                  1736213s (2),
                                  1736213s (4),
                                  t7362t3s (8),
                                  17362202 (t),
                                  11362202 (2),
                                  17362202 (3),
                                  17362202 (7),



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                           t7362202 (8),
                           17362326 (1),
                           17362326 (tO),
                           t7362326 (11),
                           17362326 (14),
                           t'1362326   (t6),
                           17362326    (2),
                           17362326    (3),
                           17362326    (6),
                           17362326    (7),
                           17362331    (r),
                           1736233t (rr),
                           1736233t (14),
                           17362331    (2),
                           17362331 (4),
                           17362331 (7),
                           17362449 (4),
                           t7362449 (5),
                           17362466    (t),
                           17362466    (5),
                           17362646    (2),
                           17362646    (s),
                           17362647    (L),
                           17362647    (5),
                           17362648    (t),
                           17362648    (s),
                           17362649    (t),
                           17362649    (s),
                           173626s0    (4),
                           173626s0    (s),
                           173626s9    (r),
                           17362659    (5),
                           17362125    (4),
                           1736272s    (s),
                           17362136    (t),
                           17362736    (2),
                           11362743    (t),
                           17362743 (5),
                           t7362743 (6),
                           17362745    (t),
                           1736274s    (tO),
                           1736274s    (4),
                           1736274s    (s),
                           1736274s    (9),
                           17362789    (tO),
                           17362789    (tr),
                           t'7362789   (2),
                           17362789    (s),
                           17362789    (6),
                           1736278e    (7),
                           17363269    (2),
                           t7363269 (3),
                           t7363269 (4),
                           17363269    (5),
                           17363269    (6),
                           17363289    (tO),
                           17363289    (t2),
                           17363289    (4),



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                              17363289 (s),
                                                                                              ffi
                              t7363289 (9),
                              t7363330   (t),
                              17363330 (10),
                              17363330 (1 1),
                              17363330 (2),
                              17363330 (3),
                              17363330 (4),
                              17363330 (s),
                 Published:   September 2021

    a                         17363330   (6),
                              17363330   (7),
                              17363330   (8),
                              17363330 (e),
                              t7363360 (r),
                              t7363360 (2),
                              17363360   (6),
                              17363360   (7),
                              17363360   (8),
                              17363360   (9),
                              17363363   (10),
                              17363363   (t3),
                              17363363   (2),
                              17363363   (s),
                              17363363   (9),
                              17363363   (rr),
                              17363429   (r),
                              17363429   (6),
                              11363429   (7),
                              17363653   (t),
                              t73636s3 (1t),
                              r73636s3 (2),
                              173636s3 (s),
                              t7363653 (6),
                              r13636s3 (9),
                              t7363732 (L),
                              17363732 {11) ,
                              17363732 (12) ,
                              17363732 (5),
                              11363732 (6),
                              17363732 {8),
                              1'1363762 (12),
                              17363762 (13),
                              17363762   (t4),
                              17363762   (2),
                              17363762   (7),
                              11363762   (8),
                              17363Sss   (3),
                              17363855   (6),
                              r73638ss (7),
                              17363862 (1),
                              t7363862 (tt),
                              77363862 (2),
                              17363862 (3),
                              t7363862 (4),
                              17363878 (1),
                              17363878 (s),



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                            1,7363878 (6),
                            17363932 (1),
                            t7363932 (2),
                            17363932    (3),
                            17363932    (7),
                            17363932    (8),
                            1736393s    (r0),
                            t736393s (13),
                            r736393s (s),
                            1736393s    (6),
                            1736393s    (7),
                            17363988    (10),
                            17363988    (11),
                            17363988    (6),
                            17363988    (7),
                            17363997    (t0),
                            17363997    (r3),
                            17363997    (3),
                            17363997    (8),
                            17363997    (9),
                            17364009    (1),
                            17364009    (5),
                            17364012    (t),
                            17364012    (tt),
                            17364012    (13),
                            t73640r2 (2),
                            t7364012 (3),
                            17364012 (6),
                            t7364015 (tt),
                            17364015 (4),
                            t73640ts (6),
                            t73640ts (7),
                            173640r5 (8),
                            t736402O    (t),
                            17364020    (10),
                            17364020    (14),
                            17364020    (2),
                            17364020    (3),
                            t7364O2O    (6),
                            17364027    (1),
                            17364027    (12),
                            17364027    (13),
                            17364027    (r7),
                            17364027    (18),
                            17364027    (2),
                            17364027    (22),
                            t'1364027   (23),
                            t7364O27    (3),
                            17364027    (7),
                            17364027    (8),
                            17364081    (l),
                            77364081    (5),
                            17364081    (6),
                            17364081    (7),
                            17364081 (8),
                            r7364081 (9),
                            17364085 (2),
                            1736408s (3),



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                                  17364086 (2),
                                  t7364086 (3),
                                  17364086 (4),
                                  17364088     (2),
                                  17364088     (3),
                                  17364088     (4),
                                  17364088     (s),
                                  17364090     (12),
                                  17364090     (13),
                                  17364090     (14),
                                  t7364090     (2),
                                  t7364090     (3),
                                  17364090     (5),
                                  t7364149     (3),
                                  t7364149     (4),
                                  17364206     (10),
                                  17364206     (2),
                                  t7364206     (3),
                                  t7364206     (7),
                                  t7364261     (10),
                                  t7364267     (2),
                                  1736426'1    (3),
                                  17364267     (4),
                                  1736426',1   (s),
                                  17364293 (t),
                     Published:   September 2021

     o   IndividualPhotographs:   t7364293 (12),
                                  t7364293 (2),
                                  17364293 (3),
                                  17364293 (4),
                                  17364309 (2),
                                  17364309 (s),
                                  17364329 (2),
                                  t7364329 (6),
                                  17364329 (8),
                                  t7364329,
                                  t7364336 (t),
                                  t7364336 (10),
                                  17364336 (13),
                                  t7364336 (5),
                                  17364336 (6),
                                  17364336 (8),
                                  t1364336 (9),
                                  17364367 (1),
                                  17364367 (4),
                                  t7364367 (9),
                                  17364468     (t),
                                  17364468     (2),
                                  17364474     (r2),
                                  17364474 (2),
                                  17364474 (6),
                                  t1364474 (7),
                                  t7364474 (8),
                                  17364646 (2),
                                  t7364646 (6),
                                  17364646 (8),
                                  t7364646 (9),


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                                  17364680 (10),
                                  r7364680 (1 1),
                                  17364680 (2),
                                  t7364680 (4),
                                  17364680 (s),
                                  17364680   (9),
                                  17364683   (t),
                                  17364683   (rO),
                                  17364683   (ts),
                                  17364683   (2),
                                  17364683   (1),
                                  17364683   (8),
                                  17364697   (4),
                                  77364697   (7),
                                  17364697   (8),
                                  17364698   (t),
                                  17364698   (10),
                                  17364698   (2),
                                  17364698   (3),
                                  17364698   (4),
                                  17364698   (6),
                                  17364133   (2),
                                  17364733   (4),
                                  17364733   (s),
                                  17364733   (6),
                                  17364119   (tO),
                                  17364719   (12),
                                  t7364779 (15),
                                  17364779 (s),
                                  17364779 (8),
                                  t7364802 (3),
                                  t7364802 (4),
                                  17364802 (9),
                                  17364811 (1),
                                  t7364811 (2),
                                  17364811 (3),
                                  17364811 (8),
                                  173648tt (9),
                                  173648s2 (t0),
                                  17364852 (tt),
                                  173648s2 (t2),
                                  17364852 (2),
                                  173648s2 (7),
                                  173648s2 (8),
                                  17364852,
                     Published:   September 2021

     o   IndividualPhotographs:   t73714s6 (8),
                                  173714s6   (9),
                                  17371586   (1),
                                  17371s86   (5),
                                  17371s92   (tt),
                                  17371592   (2),
                                  17371s92   (3),
                                  1737ts92 (7),
                                  t7371887 (t),
                                  t7371887 (2),
                                  17371887 (3),



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                                                                                               i--r+,|
                                                                                               Ll.,I
                            t737r88',1   (',l),
                            17371887     (8),
                            17371940     (t),
                            r'7371940    (tD,
                            17371940     (t2),
                            1737t94O     (16),
                            17371940     (7),
                            17372006     (t),
                            17372006 (2),
                            t7372006 (3),
                            11372006 (4),
                            17372006 (5),
                            t7372006 (6),
                            17372006     (7),
                            17372006     (8),
                            17372206     (4),
                            17372206     (s),
                            17372411     (r),
                            173724tt     (tt),
                            17372411 (13),
                            1737241t (15),
                            173724rt (16),
                            173724tr (2),
                            173724tr (3),
                            17372430     (t),
                            17372430     (2),
                            17372585     (r),
                            17372s8s     (tt),
                            17372s8s     (2),
                            17372s8s     (6),
                            17372s8s     (7),
                            17372742     (2),
                            17372742     (6),
                            17372745     (t),
                            1737274s     (tt),
                            17372745     (t2),
                            1737274s     (ts),
                            1737274s     (t7),
                            1737274s     (18),
                            1737274s     (22),
                            t7372745     (23),
                            1737274s     (5),
                            1737274s     (6),
                            17372745     (7),
                            17372919 (t),
                            17372919 (4),
                            17372942 (t),
                            17372942 (3),
                            17372988 (t),
                            17372988 (2),
                            17372988 (1),
                            11372988 (2),
                            t73',133t6 (2),
                            173',133t6 (3),
                            t73733t6 (4),
                            t7373316 (5),
                            17373475 (1),
                            1737347s (tO),



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                                  173',7347s (11),
                                  1737347s    (12),
                                  17373475    (2),
                                  17373475    (3),
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                                  t737341s    (6),
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                                  t7373487    (t),
                                  17373487 (10),
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                                  11373769    (2),
                                  t'1373769   (6),
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                     Published:   October 2021

     o   IndividualPhotographs:   t7373769,
                                  17373801 (1),
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                                  17373804 {6),
                                  t7373804 (7),
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                                  17373804    (9),
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                                  17373949    (3),
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                                  17373949    (5),
                                  17374s36    (2),
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                            1737s4s8 (2),
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                            1728317s (8),
                            r7283t7s (9),
                            17329409 (3),
                            17329409 (4),
                            173s9018 (1 1),
                            t73s9018 (2),
                            173s9018 (3),
                            173s9018 (4),
                            r73s90r8 (8),
                            173s9397 (r),
                            173s9397 (2),
                            173s9597 (t),
                            1'73s9s91 (s),
                            173s9776 (r),
                            173s9776 (s),
                            17360111 (2),
                            173622t5 (t),
                            173622ts (2),
                            t736228s (r),
                            1736228s (s),
                            17362287   (t),
                            t7362287 (5),
                            17362360 (t),
                            17362360 (s),
                            t1362403 (r),
                            1'1362403 (2),
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                            17362980   (t2),
                            17362980   (t3),
                            17362980   (14),
                            17362980   (t5),
                            17362980 (3),
                            t1362980 (6),
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                            17363r08 (r3),
                            17363108 (15),
                            17363108 (s),
                            17363108 (6),
                            17363128 (t),
                            17363t28 (t2),
                            17363128 (r3),
                            17363128 (2),
                            t7363128 (3),
                            17363t28 (4),
                            17363104 (tO),
                            17363704 (11),
                            t7363704 (5),
                            17363704 (7),
                            1736370s (2),
                            t73637O5 (3),



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                                          t736370s (4),
                                          17363886 (10),
                                          17363886 (t2),
                                          17363886 (2),
                                          17363886 (6),
                                          t7363949 (14),
                                          t7363949 (16),
                                          t1363949 (4),
                                          17363949 (s),
                                          17363949 (6),
                                          17363949 (9),
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                                          17364687 (s),
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Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 24 of 51 PageID #:3557
Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 25 of 51 PageID #:3558
Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 26 of 51 PageID #:3559




                           EXHIBIT 29C
        Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 27 of 51 PageID #:3560
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
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                                    Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.htm!

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Browser engine:                     Chrome/96.0.4664.93

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Capture ID:                         9992dac3-89f4-4747-b113-99895d082d09

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                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 28 of 51 PageID #:3561
                                                                                                                                          Baby Girl                                                                                                                             QSIGNIN   OFAVORITES      [BAG
                        O         PatPat                   cute, auality, Great Price



                        New In gay                         Baby          Toddler            Kids              Matching Outfits             Licensed Characters                                  Maternity & Nursing               Shoes & Accessories                  Home & Baby Gear      Women & Maternity




                                                                                                                                                      Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
                                                                                                                                                      Block T-shirts Sets

                                                                                                                                                       Price              $9.99


                                                                                                                                                                          or 4 interest-free payments of $2.50. Get $5 back on your first purchase
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                                                                                                                                                      Size                Baby      Girl                                                                                                          Size Chart


                                                                                                                                                                                                                          12-18M
                                                                                                                                                                          | 2Years | | 3-4 Years | | 4-5 Years | | 6-7 Years |


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                                                                                                                                                              * Length: middle calf (women/girls)
                                                                                                                                                              * Fixed belt (women)
                                                                                                                                                              * Detachable belt (girls)
                                                                                                                                                              * Bottom snaps (baby)
                                                                                                                                                              * Regular fit (tops)
                                                                                                                                                              * Material: 100% Polyester
                                                                                                                                                              * Machine wash, tumble dry
                                                                                                                                                              * Imported



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                                             S         4                       the dress   is beautiful and    | love that it's a wrap   dress   so   | can    make        it smaller           or bigger if I'd like.


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Capture ID:                         66a37db5-965b-487c-8b2f-50835341e520

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                                                                                                                                          Kid Girl                                                                                                                              QSIGNIN   OFAVORITES      [BAG
                        O         PatPat                   cute, quality, Great Price



                        New In gay                         Baby          Toddler            Kids              Matching Outfits             Licensed Characters                                  Maternity & Nursing               Shoes & Accessories                  Home & Baby Gear      Women & Maternity




                                                                                                                                                      Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
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                                                                                                                                                       Price              $9.99


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                                                                                                                                                      Size                Baby      Girl                                                                                                          Size Chart


                                                                                                                                                                                                                          12-18M
                                                                                                                                                                          | 2Years | | 3-4 Years | | 4-5 Years | | 6-7 Years |


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                                                                                                                                                              * Fixed belt (women)
                                                                                                                                                              * Detachable belt (girls)
                                                                                                                                                              * Bottom snaps (baby)
                                                                                                                                                              * Regular fit (tops)
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                                             S         4                       the dress   is beautiful and    | love that it's a wrap   dress   so   | can    make        it smaller           or bigger if I'd like.


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                                                                                 A Page Vault
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                                    Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.htm!

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Browser engine:                     Chrome/96.0.4664.93

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PDF length:                         5

Capture ID:                         9390cc9f-fc27-4468-8ea1-ebdeb1fa49dd

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                                                                                                                                          Kid Boy                                                                                                                                QSIGNIN   OFAVORITES      [BAG
                        O         PatPat                   cute, auality, Great Price



                        New In gay                         Baby          Toddler            Kids              Matching Outfits             Licensed Characters                                   Maternity & Nursing               Shoes & Accessories                  Home & Baby Gear      Women & Maternity




                                                                                                                                                       Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
                                                                                                                                                       Block T-shirts Sets

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                                                                                                                                                      Size                 Baby      Girl                                                                                                          Size Chart


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                                                                                                                                                               * Bottom snaps (baby)
                                                                                                                                                               * Regular fit (tops)
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                                             S         4                       the dress   is beautiful and    | love that it's a wrap   dress   so    | can    make        it smaller           or bigger if I'd like.


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                                       Feb 22, 2022




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                                    Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.htm!

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                        O         PatPat                    Cute, Quality, Great Price                                                       Kid Girt                                                                                                                                 QSIGNIN   QOFAVORITES     [BAG




                        New In gay                          Baby            Toddler            Kids              Matching Outfits             Licensed Characters                                Maternity & Nursing                    Shoes & Accessories                  Home & Baby Gear      Women & Maternity




                                                                                                                                                          Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
                                                                                                                                                          Block T-shirts Sets

                                                                                                                                                          Price              $9.99


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                                                                                                                                                         Size                  aby     Gir                                                                                                              Size Chart




                                                                                                                                                                             | 2Years | | 3-4 Years | | 4-5 Years | | 6-7 Years |


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                                                                                                                                                                 * Soft and comfy
                                                                                                                                                                 * Length: middle calf (women/girls)
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                                                                                                                                                          &      Free Shipping On Orders Over $45.00                                                                                                                 --


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                        All Reviews (14)


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                                                S       4                         the dress   is beautiful and    | love that it's a wrap   dress   so   | can    make        it smaller         or bigger   if I'd like.


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                                          Feb 22, 2022



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Document title: Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color Block T-shirts Sets Only $12.99 Patpat US
Capture URL: https://us.patpat.com/product/F amily-Matching-Allover-Floral-Print-Long-sleeve-Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.html
Capture timestamp (UTC): Wed, 23 Mar 2022 09:04:07 GMT                                                                                                                                                                                                                                                                    Page 1 of 4
        Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 35 of 51 PageID #:3568
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
                                    Block T-shirts Sets Only $12.99 Patpat US

Capture URL:                        https://us. patpat.com/product/Family-Matching-Allover-Floral-Print-Long-sleeve-
                                    Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.htm!

Page loaded at (UTC):               Wed, 23 Mar 2022 09:06:27 GMT

Capture timestamp (UTC):            Wed, 23 Mar 2022 09:07:17 GMT

Capture tool:                       v7.14.0

Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         9365754 2-c219-4347-8d78-9ea965be5bad

User:                               pp-zchen




                        PDF   REFERENCE        #:       oTZhcQSKH117wTYaP1lmMjJ
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                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 36 of 51 PageID #:3569
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                        New In gay                       Baby            Toddler            Kids              Matching Outfits             Licensed Characters                              Maternity & Nursing                Shoes & Accessories                  Home & Baby Gear      Women & Maternity




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                                                                                                                                                      Block T-shirts Sets

                                                                                                                                                       Price              $9.99


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                                       Feb 22, 2022



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Document title: Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color Block T-shirts Sets Only $12.99 Patpat US
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Capture timestamp (UTC): Wed, 23 Mar 2022 09:07:17 GMT                                                                                                                                                                                                                                                           Page 1 of 4
        Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 37 of 51 PageID #:3570
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color
                                    Block T-shirts Sets Only $12.99 Patpat US

Capture URL:                        https://us. patpat.com/product/Family-Matching-Allover-Floral-Print-Long-sleeve-
                                    Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.htm!

Page loaded at (UTC):               Wed, 23 Mar 2022 09:07:57 GMT

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Capture tool:                       v7.14.0

Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         d1fbfe78-03b1-421e-9b10-f9dbcd35abe8

User:                               pp-zchen




                        PDF   REFERENCE        #:       5SLD2Uy8CFv2h9rdw3bl1jEL
                        English    +   USD       +         ©   United States                                                                                 Free Shipping On Orders Over $45.00                                                                                       Order Status      FAQs

                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 38 of 51 PageID #:3571
                        O         PatPat                   cute, quality, Great Price                                                     MeEaster                                                                                                                          QSIGNIN   OFAVORITES      [BAG




                        New In gay                         Baby          Toddler            Kids              Matching Outfits             Licensed Characters                              Maternity & Nursing               Shoes & Accessories                  Home & Baby Gear      Women & Maternity




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                                                                                                                                                      Block T-shirts Sets

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Document title: Family Matching Allover Floral Print Long-sleeve Wrap Belted Dresses and Color Block T-shirts Sets Only $12.99 Patpat US
Capture URL: https://us.patpat.com/product/F amily-Matching-Allover-Floral-Print-Long-sleeve-Wrap-Belted-Dresses-and-Color-Block-T-shirts-Sets-512920.html
Capture timestamp (UTC): Wed, 23 Mar 2022 09:09:07 GMT                                                                                                                                                                                                                                                          Page 1 of 4
Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 39 of 51 PageID #:3572




                           EXHIBIT 29D
     Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 40 of 51 PageID #:3573




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222412.html?spm=1001.2002.337-pc.0-24

Page loaded at (UTC):            Mon, 21 Mar 2022 07:52:22 GMT

Capture timestamp (UTC):         Mon, 21 Mar 2022 07:53:42 GMT

Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      d64c4246-34f5-47fe-ab86-971b700a5005

User:                            pp-zchen




                        PDF REFERENCE #:             m7KGkNuoyuszix8RHRW4NB
                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 41 of 51 PageID #:3574




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222412.html?spm=1001.2002.337-pc.0-24
Capture timestamp (UTC): Mon, 21 Mar 2022 07:53:42 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 42 of 51 PageID #:3575




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222412.html?spm=1001.2002.337-pc.0-24

Page loaded at (UTC):            Mon, 21 Mar 2022 07:52:22 GMT

Capture timestamp (UTC):         Mon, 21 Mar 2022 07:57:22 GMT

Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      4046d3a3-66fb-441e-a88b-c7e104f93422

User:                            pp-zchen




                        PDF REFERENCE #:             iXngpMWv3TCAGtBzecgvNX
                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 43 of 51 PageID #:3576




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222412.html?spm=1001.2002.337-pc.0-24
Capture timestamp (UTC): Mon, 21 Mar 2022 07:57:22 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 44 of 51 PageID #:3577




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222412.html?spm=1001.2002.337-pc.0-24

Page loaded at (UTC):            Mon, 21 Mar 2022 07:52:22 GMT

Capture timestamp (UTC):         Mon, 21 Mar 2022 07:58:43 GMT

Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      35017870-f441-4daf-9632-abaa3bd8b1cf

User:                            pp-zchen




                        PDF REFERENCE #:             eTxX5T5K5LkCJFmf9jDute
                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 45 of 51 PageID #:3578




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222412.html?spm=1001.2002.337-pc.0-24
Capture timestamp (UTC): Mon, 21 Mar 2022 07:58:43 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 46 of 51 PageID #:3579




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222412.html?spm=1001.2002.337-pc.0-24

Page loaded at (UTC):            Mon, 21 Mar 2022 07:52:22 GMT

Capture timestamp (UTC):         Mon, 21 Mar 2022 08:03:55 GMT

Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      eecab5b1-26c5-4dcb-a91c-1e513cfea9db

User:                            pp-zchen




                        PDF REFERENCE #:             uSxuk1fBivcKYc2YiF2FkN
                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 47 of 51 PageID #:3580




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222412.html?spm=1001.2002.337-pc.0-24
Capture timestamp (UTC): Mon, 21 Mar 2022 08:03:55 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 48 of 51 PageID #:3581




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222412.html?spm=1001.2002.337-pc.0-24

Page loaded at (UTC):            Mon, 21 Mar 2022 07:52:22 GMT

Capture timestamp (UTC):         Mon, 21 Mar 2022 08:04:17 GMT

Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      578cdc11-a5ec-49a2-9ed1-96b4bc50c03b

User:                            pp-zchen




                        PDF REFERENCE #:             4iid4fVFbUZPda66TcBB8g
                   Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 49 of 51 PageID #:3582




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222412.html?spm=1001.2002.337-pc.0-24
Capture timestamp (UTC): Mon, 21 Mar 2022 08:04:17 GMT                                                                                        Page 1 of 1
        Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 50 of 51 PageID #:3583
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Document      title:                Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                        https://www. hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                    T-shirt-222412.html?spm=1001.2002.337-pc.0-24

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Capture tool:                       v7.14.0

Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

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Capture ID:                         c6b630b9-2bdc-4aed-b8ac-3d5f824184 fd

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                    Case: 1:22-cv-02259 Document #: 53-28 Filed: 11/15/22 Page 51 of 51 PageID #:3584
                                         e                                      e                                                                                                                                                                                                                               A
                              h          | bob                                  |      use hibobi, love your baby.                                                                                                                                                           |     Q     |


                                                     Hottest                            Baby         Toddler                    Kids                 Toys              Family Outfits                      Shoes               Accessories                         Mom Supplies&Home


                              Home / Matching outfits / Whole Family / Suit


                                                                                                                                                                            Family Matching Floral Print Long Sleeve Dress and T-shirt



                                                                                                                                                                                       10.99 USD

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                                                                                                                                                                              Description                Size & Fit         Delivery


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                                                                                                                                                                  >          Thickness:                     Regular
                                                                                                                                                                             Material:                      Polyester

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                                                                                                                                                                              Dry Clean:                    Dry-cleanable
                                                                                                 6    oO                                                                      Washing Mode:                 Hand Wash
                                                                                                                                                                              Season:                       Summer
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                                                                                                                                                                             Patterns/Graphics:             Floral




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Capture timestamp (UTC): Wed, 23 Mar 2022 09:23:21 GMT                                                                                                                                                                                                                                                              Page 1 of 1
